                                Case 19-12051-MFW                        Doc 1             Filed 09/16/19                Page 1 of 33
        Debtor   Sienna Biopharmaceuticals, Inc.                                                                 Case number (if known)
                 Name




       Fill in this information to identify the case:

      United States Bankruptcy Court for the:

                             District of        Delaware
                                           (State)
      Case number (If known):                                  Chapter       11                                                                       Check if this is an
                                                                                                                                                      amended filing



 Official Form 201

 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                          04/19

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.       Debtor’s name                              Sienna Biopharmaceuticals, Inc.


 2.       All other names debtor used                Sienna Labs Inc.
          in the last 8 years

          Include any assumed names,
          trade names, and doing
          business as names



 3.       Debtor’s federal Employer
          Identification Number (EIN)                 2       7 – 3      3        6   4       6   2      7



 4.       Debtor’s address                           Principal place of business                                            Mailing address, if different from principal
                                                                                                                            place of business

                                                     30699            Russell Ranch Road
                                                     Number           Street                                                Number           Street

                                                     Suite 140
                                                                                                                            P.O. Box

                                                     Westlake Village                 CA              91362
                                                     City                             State           ZIP Code              City                        State      ZIP Code

                                                                                                                            Location of principal assets, if different from
                                                                                                                            principal place of business

                                                     Los Angeles
                                                     County                                                                 Number           Street




                                                                                                                            City                        State      ZIP Code




 5.       Debtor’s website (URL)                     www.siennabio.com


 6.       Type of debtor                                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                            Partnership (excluding LLP)
                                                            Other. Specify:




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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       Debtor    Sienna Biopharmaceuticals, Inc.                                                          Case number (if known)
                 Name




 7.      Describe debtor’s business            A. Check one:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                         None of the above

                                               B. Check all that apply:
                                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                         § 80a-3)
                                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                       http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                   3      2         5     4


 8.      Under which chapter of the            Check one:
         Bankruptcy Code is the debtor
         filing?                                        Chapter 7
                                                        Chapter 9
                                                        Chapter 11. Check all that apply:
                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                   4/01/22 and every 3 years after that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                   Rule 12b-2.
                                                         Chapter 12


 9.      Were prior bankruptcy                No
         cases filed by or against the
         debtor within the last 8             Yes.            District                             When                                 Case number
         years?                                                                                                MM / DD / YYY
         If more than 2 cases, attach a                       District                             When                                 Case number
         separate list.
                                                                                                               MM / DD / YYY


 10.     Are any bankruptcy cases             No
         pending or being filed by a
         business partner or an               Yes.            Debtor                                                           Relationship
         affiliate of the debtor?
                                                              District                                                         When
         List all cases. If more than 1,
         attach a separate list.                                                                                                               MM / DD / YYY

                                                              Case number, if known


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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       Debtor    Sienna Biopharmaceuticals, Inc.                                                   Case number (if known)
                 Name




 11.     Why is the case filed in this        Check all that apply:
         district?
                                                   Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                   days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                   any other district.
                                                   A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                   district.


 12.     Does the debtor own or have                No
         possession of any real                     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
         property or personal                       needed.
         property that needs
         immediate attention?                       Why does the property need immediate attention? (Check all that apply.)
                                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?
                                                           It needs to be physically secured or protected from the weather.
                                                           It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                           Other


                                                   Where is the property?
                                                                                  Number         Street




                                                                                  City                                          State         ZIP Code


                                                   Is the property insured?
                                                           No.
                                                           Yes. Insurance agency


                                                                 Contact name


                                                                 Phone



                Statistical and administrative information


 13.     Debtor’s estimation of               Check one:
         available funds                            Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                    creditors.


 14.     Estimated number of                        1-49                                 1,000-5,000                          25,001-50,000
         creditors                                  50-99                                5,001-10,000                         50,001-100,000
                                                    100-199                              10,001-25,000                        More than 100,000
                                                    200-999


 15.     Estimated assets                           $0-$50,000                           $1,000,001-$10 million               $500,000,001-$1 billion
                                                    $50,001-$100,000                     $10,000,001-$50 million              $1,000,000,001-$10 billion
                                                    $100,001-$500,000                    $50,000,001-$100 million             $10,000,000,001-$50 billion
                                                    $500,001-$1 million                  $100,000,001-$500 million            More than $50 billion


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 3
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                09/16/2019




                                                             09/16/2019
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 ------------------------------------------------------- x
                                                         :
 In re:                                                  :   Chapter 11
                                                         :
 SIENNA BIOPHARMACEUTICALS, INC., :                          Case No. 19-_______ (_____)
                                                         :
                            Debtor.                      :
                                                         :
 ------------------------------------------------------- x

                ATTACHMENT TO VOLUNTARY PETITION FOR
        NON-INDIVIDUALS FILING FOR BANKRUPTCY UNDER CHAPTER 11

      1.     If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-38155.

       2.      The following financial data is the latest available information and refers to the
debtor’s condition on June 30, 2019.

        a.       Total assets:                                                 $107,625,000.00

        b.       Total debts (including debts listed in 2.c below):            $80,642,000.00

        c.       Debt securities held by more than 500 holders:                N/A

        d.       Number of shares of preferred stock:                          N/A

        e.       Number of shares of common stock:                             30,907,542

        Comments, if any: N/A

        3.      Brief description of Debtor’s business: Sienna Biopharmaceuticals, Inc. is a
clinical-stage biopharmaceutical company focused on bringing innovations in biotechnology to
the discovery, development, and commercialization of first-in-class, targeted, topical products in
medical dermatology and aesthetics.

       4.     List the names of any person who directly or indirectly owns, controls, or holds,
with power to vote, 5% or more of the voting securities of debtor: ARCH Venture Partners VIII,
LLC; Partner Fund Management, L.P.; FMR, LLC
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                    CERTIFICATE OF CORPORATE SECRETARY OF
                       SIENNA BIOPHARMACEUTICALS, INC.

                                     SEPTEMBER 11, 2019

               I, the undersigned, duly elected, qualified, and acting Corporate Secretary of Sienna
Biopharmaceuticals, Inc., a Delaware corporation (the “Company”), do hereby certify solely on
behalf of the Company and not in my individual capacity, that in such capacity, I am authorized to
execute this Certificate on behalf of the Company, and further hereby certify that:

                Attached hereto as Exhibit A is a true, correct, and complete copy of the resolutions
duly adopted by the Board of Directors of the Company on the date hereof, and that such
resolutions (a) have not been amended, rescinded, or modified since their adoption and remain in
full force and effect as of the date hereof, and (b) were adopted in accordance with the provisions
of applicable law and the Company’s organizational documents.
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                      EXHIBIT A

                    Board Resolutions
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                        RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                            SIENNA BIOPHARMACEUTICALS, INC.

                                           SEPTEMBER 11, 2019

                     WHEREAS, the members of the Board of Directors (the “Board”) of Sienna
     Biopharmaceuticals, Inc., a Delaware corporation (the “Company”), has reviewed and had the
     opportunity to ask questions about the materials presented by management and the legal and
     financial advisors of the Company regarding the liabilities and liquidity of the Company, the
     strategic alternatives available to the Company, and the impact of the foregoing on the Company’s
     business;

                    WHEREAS, the Board has reviewed and had the opportunity to ask questions
     about the materials presented by management and the legal and financial advisors of the Company
     regarding the liabilities and liquidity of the Company, the strategic alternatives available to the
     Company, and the impact of the foregoing on the Company’s business;

                     WHEREAS, the Board has had the opportunity to consult with the management
     and the legal and financial advisors of the Company to fully consider, and have considered, the
     strategic alternatives available to the Company; and

                    WHEREAS, the Board desires to approve the following resolutions.

I.          COMMENCEMENT OF CHAPTER 11 CASE

                     NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after
     consultation with the management and the legal and financial advisors of the Company, that it is
     desirable and in the best interests of the Company, its creditors, and other parties in interest that a
     petition be filed by the Company seeking relief under the provisions of chapter 11 of title 11 of the
     United States Code (the “Bankruptcy Code”); and be it further

                      RESOLVED, that any officer of the Company (each, an “Authorized Officer”) in
     each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed,
     with full power of delegation, to negotiate, execute, deliver, and file in the name and on behalf of
     the Company, and under its seal or otherwise, all plans, petitions, schedules, statements, motions,
     lists, applications, pleadings, papers, affidavits, declarations, orders, and other documents in the
     United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and, in
     connection therewith, to take and perform any and all further acts and deeds which such Authorized
     Officer deems necessary, proper, or desirable in connection with the Company’s chapter 11 case
     (the “Chapter 11 Case”), including, without limitation, (i) the payment of fees, expenses, and
     taxes such Authorized Officer deems necessary, appropriate, or desirable, and (ii) negotiating,
     executing, delivering, performing, and filing any and all additional documents, schedules,
     statements, lists, papers, agreements, certificates, and instruments (or any amendments or
     modifications thereto) in connection with, or in furtherance of, the Chapter 11 Case, with a view
     to the successful prosecution of the Chapter 11 Case (such acts to be conclusive evidence that such
     Authorized Officer deemed the same to meet such standard); and be it further
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 II.          RETENTION OF ADVISORS

                       RESOLVED, that, in connection with the Company’s Chapter 11 Case, any
       Authorized Officer, in each case, acting singly or jointly, be, and each hereby is, authorized
       empowered, and directed, with full power of delegation, in the name and on behalf of the
       Company, to employ and retain all assistance in the name and on behalf of the Company, to employ
       and retain all assistance by legal counsel, accountants, financial advisors, investment bankers, and
       other professionals which such Authorized Officer deems necessary, appropriate, or desirable in
       connection with such employment and retention of professionals set forth in this resolution, with
       a view to the successful prosecution of the Chapter 11 Case (such acts to be conclusive evidence
       that such Authorized Officer deemed the same to meet such standard); and be it further

                      RESOLVED, that the firm of Latham & Watkins LLP, located at 355 South Grand
       Avenue, Suite 100, Los Angeles, CA 90071, is hereby retained as legal counsel for the Company
       in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                      RESOLVED, that the firm of Young Conaway Stargatt & Taylor, LLP, located at
       Rodney Square, 1000 North King Street, Wilmington, DE 19801, is hereby retained as legal
       counsel for the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it
       further

                    RESOLVED, that the firm of Cowen and Company, LLC, located at 599
       Lexington Avenue, 20th Floor, New York, NY 10022, is hereby retained as investment banker for
       the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                      RESOLVED, that the firm of Force 10 Partners, located at 20341 Southwest Birch
       Street, Suite 220, Newport Beach, CA 92660, is hereby retained as financial advisor for the
       Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                     RESOLVED, that the firm of Epiq Corporate Restructuring, LLC, located at 777
       Third Avenue, New York, NY 10153, is hereby retained as claims, noticing, and solicitation agent
       and administrative advisor in the Chapter 11 Case, subject to Bankruptcy Court approval; and be
       it further

III.          GENERAL AUTHORIZATION AND RATIFICATION

                      RESOLVED, that any Authorized Officers, in each case acting singly or jointly,
       be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of the
       Company, to cause the Company to enter into, execute, deliver, certify, file and record, and
       perform, such agreements, instruments, motions, affidavits, or rulings of governmental or
       regulatory authorities, certificates, or other documents, and to take such other actions that in the
       judgment of the Authorized Officer shall be or become necessary, proper, or desirable in
       connection with the Chapter 11 Case; and be it further

                       RESOLVED, that any and all past actions heretofore taken by any Authorized
       Officer in the name and on behalf of the Company in furtherance of any or all of the preceding
       resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects; and be
       it further


                                                        2
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                RESOLVED, that any and all past actions heretofore taken by any director or
officer of the Company’s direct and indirect subsidiaries (each, a “Subsidiary” and, as applicable,
a “Subsidiary D&O”), in the name and on behalf of such Subsidiary, in furtherance of the
restructuring, dissolution, or winding up of such Subsidiary be, and the same hereby are, ratified,
confirmed, and approved in all respects; and be it further

                RESOLVED, that any appropriate Subsidiary D&O, in each case acting singly or
jointly, be, and each hereby is, authorized, empowered, and directed, in the name and on behalf of
the Subsidiary, to cause the Subsidiary to enter into, execute, deliver, certify, file and record, and
perform, such agreements, instruments, motions, affidavits, or rulings of governmental or
regulatory authorities, certificates, or other documents, and to take such other actions that in the
judgment of the Subsidiary D&O shall be or become necessary, proper, or desirable in connection
with the restructuring, dissolution, or winding up of such Subsidiary; and be it further

               RESOLVED, that the Corporate Secretary of the Company is authorized to place
a copy of these resolutions in the official records of the Company to document the actions set forth
herein as actions taken by the Board.



                            [Remainder of page left intentionally blank]




                                                  3
                                    Case 19-12051-MFW                     Doc 1         Filed 09/16/19              Page 12 of 33


      Fill in this information to Identify the case:

      Debtor Name: Sienna Biopharmaceuticals
                                                                                                                                             Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                  amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 20 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if       Deduction          Unsecured
                                                                                                                    partially secured     for value of       claim
                                                                                                                                          collateral or
                                                                                                                                          setoff

  1       CHARLES RIVER LABORATORIES          CONTACT: BRIAN BATHGATE, TRADE DEBT                                                                                 $1,122,083.50
          251 BALLARDVALE ST                  SVP GLOBAL PRECLINICAL
          WILMINGTON, MA 01887                SVCS
                                              PHONE: 419-289-8700
                                              FAX: 978-657-4836
  2       CALIFORNIA EMPLOYMENT               PHONE: 866-333-4606             TAXES,UNEMPLOYM            D                                                          $439,966.71
          DEVELOPMENT DEPARTMENT              FAX: 916-262-2352               ENT INSURANCE
          800 CAPITOL MALL
          MIC 83
          SACRAMENTO, CA 95814
  3       THERAPEUTICS, INC.                  CONTACT: DAN                    TRADE DEBT                 D                                                          $266,704.40
          9025 BALBOA AVENUE, SUITE 100       PIACQUADIO, PRESIDENT
          SAN DIEGO, CA 92123                 PHONE: 858-571-1800
                                              FAX: 858-571-1234
  4       RHO, INC.                           CONTACT: LAURA HELMS            TRADE DEBT                                                                            $244,432.00
          2635 E NC HWY 54                    REECE, CEO
          DURHAM, NC 27713                    PHONE: 919-408-8000
                                              FAX: 919-408-0999
  5       JOHNSON MATTHEY                     CONTACT: ROBERT MACLEOD TRADE DEBT                         D                                                          $177,633.17
          PHARMACEUTICAL MATERIALS, INC.      PHONE: 610-971-3000
          435 DEVON PARK DRIVE                FAX: 610-971-3191
          SUITE 600
          WAYNE, PA 19087
  6       MEDPHARM LTD.                       CONTACT: ADEBOLA YUSUF     TRADE DEBT                                                                                  $89,154.87
          UNIT 3, CHANCELLOR COURT            PHONE: +44 (0) 1483 501481
          50 OCCAM ROAD, SURREY               ADEBOLA.YUSUF@MEDPHAR
          RESEARCH PARK                       M.CO.UK
          GUILDFORD, SURREY GU2 7AB
          UNITED KINGDOM




Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                        Page 1
                                 Case 19-12051-MFW                   Doc 1       Filed 09/16/19              Page 13 of 33
  Debtor: Sienna Biopharmaceuticals                                                            Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  7     UC REGENTS                         CONTACT: CHARLES       TRADE DEBT                                                                                  $65,000.00
        OFFICE OF THE GENERAL COUNSEL      ROBINSON
        UNIVERSITY OF CALIFORNIA, OFFICE   PHONE: 510-987-9800
        OF THE PRESIDENT                   FAX: 510-987-9757
        1111 FRANKLIN ST., 8TH FLOOR       CHARLES.ROBINSON@UCOP.
        OAKLAND, CA 94607                  EDU
  8     EVIDENCE SCIENTIFIC SOLUTIONS,     CONTACT: MONIKA       TRADE DEBT                                                                                   $64,426.88
        INC.                               POELZMANN
        123 SOUTH BROAD STREET             PHONE: 215-239-6600
        STE 2050                           FAX: 215-545-0240
        PHILADELPHIA, PA 19109             MONIKA.POELZMANN@ENVI
                                           SIONPHARMAGROUP.COM
  9     NEXTPHARMA                         CONTACT: PETER BUREMA       TRADE DEBT                                                                             $53,139.19
        1 TANNERY HOUSE                    PHONE: +44-1-483-479-120
        TANNERY LANE                       FAX: +44-1-483-479-135
        SEND, WOKING, SURREY GU23 7EF      PETER.BUREMA@NEXTPHAR
        UK                                 MA.COM
  10    ARA ADVANCE RESEARCH               CONTACT: PETER SHABE,       TRADE DEBT                                                                             $39,897.82
        ASSOCIATES                         PRESIDENT
        2350 MISSION COLLEGE BLVD. STE     PHONE: 650-810-1190
        825                                FAX: 650-810-1195
        SANTA CLARA, CA 95054
  11    EVERSANA                           CONTACT: AMANDA VITOLLO TRADE DEBT                                                                                 $37,375.00
        24740 NETWORK PLACE                PHONE: 908-508-6750
        CHICAGO, IL 60673-1247             AMANDA.VITOLLO@EVERSA
                                           NA.COM


  12    VEEVA SYSTEMS, INC                 CONTACT: PETER GASSNER,     TRADE DEBT                 D                                                           $36,000.00
        4280 HACIENDA DRIVE                CEO
        PLEASANTON, CA 94588               PHONE: 925-452-6500
                                           FAX: 925-452-6504
  13    CLINICAL RESEARCH MONITORING       CONTACT: LAUREN NORMAN TRADE DEBT                                                                                  $20,693.25
        SERVICES, INC                      PHONE: 615-567-6537
        7163 TULLAMORE LN                  LBNORMAN@HOTMAIL.COM
        FRANKLIN, TN 37067


  14    APOTEX FERMENTATION INC.           PHONE: 204-989-6830         TRADE DEBT                                                                             $16,445.75
        50 SCURFIELD BLVD.                 FAX: 204-989-9160
        WINNIPEG, MB R3Y 1G4               INFO@APOFERM.COM
        CANADA
  15    SKIN RESEARCH INSTITUTE LLC        CONTACT: ALEX CAZZANIGA     TRADE DEBT                                                                             $15,005.00
        4425 PONCE DE LEON BLVD.           PHONE: 305-443-6606 X 125
        SUITE 200                          FAX: 305-443-4890
        CORAL GABLES, FL 33146             ACAZZANIGA@SRINSTITUTE.
                                           ORG
  16    DEPASSE CONSULTING GROUP, INC. CONTACT: DEBORAH                TRADE DEBT                                                                             $14,984.90
        21 WELCH RD.                   DEPASSE
        LONDONDERRY, NH 03053          PHONE: 877-734-4350
                                       DEBBIE@DEPASSE.US
  17    ANNABEL BATES                      CONTACT: ANNABEL BATES TRADE DEBT                                                                                  $13,440.00
        ADDRESS ON FILE                    PHONE: 61(0)455420014
                                           ANNABELBATES0@GMAIL.CO
                                           M




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                    Page 2
                                 Case 19-12051-MFW                   Doc 1      Filed 09/16/19              Page 14 of 33
  Debtor: Sienna Biopharmaceuticals                                                           Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  18    UPPSALA MONITORING                 CONTACT: MARIE LINDQUIST TRADE DEBT                                                                               $12,347.27
        UPPSALA MONITORING CENTRE          PHONE: +46-18-65 60 60
        BOX 1051                           FAX: +46-18-65 60 88
        UPPSALA S-751 40                   MARIE.LINDQUIST@WHO-
        SWEDEN                             UMC.ORG


  19    QACV CONSULTING, LLC               CONTACT: CHRIS WUBBOLT TRADE DEBT                                                                                 $11,828.31
        3242 REGAL ROAD                    PHONE: 610-442-2250
        BETHLEHEM, PA 18020                CHRIS.WUBBOLT@QACVCON
                                           SULTING .COM
  20    NANOCOMPOSIX                       CONTACT: STEVEN            TRADE DEBT                                                                              $9,935.00
        4878 RONSON CT, STE K              OLDENBURG, PRESIDENT
        SAN DIEGO, CA 92111                PHONE: 858-565-4227
                                           FAX: 619-330-2556
                                           INFO@NANOCOMPOSIX.CO
                                           M




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims                                   Page 3
            Case 19-12051-MFW                 Doc 1       Filed 09/16/19           Page 15 of 33



 Fill in this information to identify the case and this filing:

 Debtor Name      Sienna Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the District of Delaware

 Case   number   (if known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                               12115
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or
partnership, must sign and submit this form for the schedules of assets and liabilities, any other document
that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
            --



money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. § 152, 1341, 1519, and 3571.


             Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized
        agent of the partnership, or another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the
        information is true and correct:

        D        Schedule A/B: Assets-Real and Personal Property (Official Form 206NB)

        O        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        O        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        0        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        0        Schedule H: Codebtors (Official Form 206H)

        0        Summary of Assets and Liabilities for Non-Individuals (Official Form 2O6Sum)

        0        Amended Schedule

                 Chapter 71 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
                 Are Not Insiders (Official Form 204)

        0        Other document that requires a declaration

        I declare under penalty of perjury that the foregoing is true and correct,1

        Executed on            09/16/2019                     X               1f7
                          MM/DDIYYYY                                   Signatire of individual on behalf of debtor

                                                                       Frederick C. Beddingfield III
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor
               Case 19-12051-MFW              Doc 1      Filed 09/16/19   Page 16 of 33



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 ------------------------------------------------------- x
                                                         :
 In re:                                                  :   Chapter 11
                                                         :
 SIENNA BIOPHARMACEUTICALS, INC., :                          Case No. 19-_______ (_____)
                                                         :
                            Debtor.                      :
                                                         :
 ------------------------------------------------------- x

                         STATEMENT OF CORPORATE OWNERSHIP

             Pursuant to Fed. R. Bankr. P. 1007(a)(1) and Fed. R. Bankr. P. 7007.1, provided
below are the entities that directly or indirectly own 10% or more of any class of Sienna
Biopharmaceuticals, Inc.’s equity interests.

          Shareholder                              Address                  Number of Shares

                                            8755 W Higgins Rd
 ARCH Venture Partners VIII                     Suite 125                       3,633,068
                                            Chicago, IL 60631
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                                              United States Bankruptcy Court
                                                                   Delaware
In re: Sienna Biopharmaceuticals, Inc                                                                 Case No.
                                                                    Debtor(s)
                                                                                                      Chapter     11


                                     LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) of the Federal Rules of
Bankruptcy Procedure for filing in this Chapter 11 Case.

Name and last known address or place of                                         Security Class           Number of             Kind of
business of holder                                                                                       Securities            Interest
ABBVIE INTERNATIONAL S A R L                                                    COMMON                          78,816     COMMON
26 BOULEVARD ROYAL                                                              SHARES
2449 LUXEMBOURG
LUXEMBOURG

ABN AMROCC                                                                      COMMON                           8,126     COMMON
ATTN PROXY DEPARTMENT                                                           SHARES
175 W. JACKSON BLVD
SUITE 2050
CHICAGO, IL 60605

ALAN C & AGNES B MENDELSON                                                      COMMON                           2,042     COMMON
FAMILY TRUST                                                                    SHARES
ATTN ALAN MENDELSON
76 DE BELL DR
ATHERTON CA 94027-2253

ALBUM CREATIVE STUDIOS                                                          COMMON                           9,540     COMMON
ATTN NATHAN HARRIS                                                              SHARES
1705 N EL CAMINO REAL
SAN CLEMENTE CA 92672-5915

ALFREDO BONI                                                                    COMMON                          45,102     COMMON
VIA SANT ULDERICO 80                                                            SHARES
10015 IVREA
ITALY

ALTITUDE LIFE SCIENCE VENTURES                                                  COMMON                          42,768     COMMON
FUND II LP                                                                      SHARES
1014 MARKET ST STE 200
KIRKLAND WA 98033-5435

ALTITUDE LIFE SCIENCE VENTURES                                                  COMMON                          42,768     COMMON
SIDE FUND II LP                                                                 SHARES
1014 MARKET ST STE 200
KIRKLAND WA 98033-5435

AMERIPRISE                                                                      COMMON                          11,000     COMMON
ATTN GREG WRAALSTAD OR PROXY MGR                                                SHARES
901 3RD AVE SOUTH
MINNEAPOLIS, MN 55474

ANDALUCIA VENTURES LLC                                                          COMMON                          31,784     COMMON
580 MEADOW GROVE LN                                                             SHARES
WESTLAKE VILLAGE CA 91362-5606

Sheet 1 of 16 in List of Equity Security Holders
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In re: Sienna Biopharmaceuticals, Inc                                                    Case No.
                                                           Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class      Number of          Kind of
business of holder                                                                         Securities         Interest

ANITA SALUJA                                                           COMMON                       6,129   COMMON
2758 WYNDHAM WAY                                                       SHARES
MELBOURNE FL 32940-5970

ARCH VENTURE FUND VIII LP                                              COMMON                2,750,575      COMMON
8755 W HIGGINS RD STE 1025                                             SHARES
CHICAGO IL 60631-2778

ARCH VENTURE FUND VIII OVERAGE LP                                      COMMON                  882,493      COMMON
8755 W HIGGINS RD STE 1025                                             SHARES
CHICAGO IL 60631-2778

BANK OF NEW YORK MELLON                                                COMMON                2,194,969      COMMON
ATTN EVENT CREATION                                                    SHARES
500 GRANT STREET
ROOM 151-1700
PITTSBURGH, PA 15258

BARCLAYS CAPITAL INC.                                                  COMMON                         96    COMMON
ATTN CORPORATE ACTIONS/REORG                                           SHARES
745 7TH AVENUE, 3RD FLOOR
NEW YORK, NY 10019

BEDDINGFIELD CHILDREN'S TRUST                                          COMMON                   28,152      COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

BEDDINGFIELD FAMILY TRUST                                              COMMON                  112,614      COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

BMO NESBITT BURNS INC. /CDS                                            COMMON                   34,607      COMMON
ATTN PHUTHORN PENIKETT                                                 SHARES
250 YONGE ST., 14TH FLOOR
TORONTO, ON M5B 2M8
CANADA
BNP PARIBAS, NEW YORK BRANCH                                           COMMON                        907    COMMON
ATTN PROXY DEPARTMENT                                                  SHARES
525 WASHINGTON BLVD
9TH FLOOR
JERSEY CITY, NJ 07310




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In re: Sienna Biopharmaceuticals, Inc                                                    Case No.
                                                           Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class      Number of          Kind of
business of holder                                                                         Securities         Interest

BOFA SECURITIES, INC.                                                  COMMON                   88,711      COMMON
ATTN EARL WEEKS OR PROXY DEPT.                                         SHARES
C/O MERRILL LYNCH CORPORATE ACTIONS
4804 DEER LAKE DR. E.
JACKSONVILLE, FL 32246

BRANDITH IRWIN & MARK MCPHERSON                                        COMMON                       2,733   COMMON
3901 E MCGILVRA ST                                                     SHARES
SEATTLE WA 98112-2737

BROWN BROTHERS HARRIMAN & CO.                                          COMMON                2,648,588      COMMON
ATTN CORPORATE ACTIONS / VAULT                                         SHARES
140 BROADWAY
NEW YORK, NY 10005

CATHERINE MOUKHEIBIR                                                   COMMON                   20,114      COMMON
IMMEUBLE LA PERLE BLEUE                                                SHARES
ACHRAFIEH
BEIRUT
LEBANON

CHARLES SCHWAB & CO., INC.                                             COMMON                1,665,167      COMMON
ATTN CHRISTINA YOUNG OR PROXY MGR                                      SHARES
2423 EAST LINCOLN DRIVE
PHOENIX, AZ 85016-1215

CIBC WORLD MKTS. /CDS                                                  COMMON                       5,152   COMMON
ATTN REED JON OR PROXY DEPT.                                           SHARES
22 FRONT ST. W. 7TH FL
TORONTO, ON M5J 2W5
CANADA

CINDY DIBIASI LIVING TRUST                                             COMMON                   21,115      COMMON
DATED 12-28-2012                                                       SHARES
110 WASHINGTON AVE APT 1309
MIAMI BEACH FL 33139-7222

CITADEL SECURITIES LLC                                                 COMMON                         13    COMMON
ATTN KEVIN NEWSTEAD OR PROXY MGR                                       SHARES
131 SOUTH DEARBORN STREET
35TH FLOOR
CHICAGO, IL 60603

CITIBANK                                                               COMMON                       5,450   COMMON
ATTN DARYL SLATER OR REORG MGR                                         SHARES
3800 CITIBANK CENTER
B3-12
TAMPA, FL 33610
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In re: Sienna Biopharmaceuticals, Inc                                                    Case No.
                                                           Debtor(s)


                                LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class      Number of          Kind of
business of holder                                                                         Securities         Interest

CITIBANK, N.A.                                                         COMMON                  394,354      COMMON
ATTN SHERIDA SINANAN OR PROXY DEPT.                                    SHARES
3801 CITIBANK CENTER
B/3RD FLOOR/ZONE 12
TAMPA, FL 33610

CREDENTIAL SECURITIES INC                                              COMMON                       2,401   COMMON
ATTN DANIELLE MONTANARI OR PROXY MGR                                   SHARES
700 - 1111 W. GEORGIA ST
VANCOUVER, BC V6E 4T6
CANADA

CREDIT SUISSE                                                          COMMON                       2,990   COMMON
ATTN EMILY CONNORS OR PROXY DEPT.                                      SHARES
C/O REORGANIZATION DEPT.
7033 LOUIS STEPHENS DRIVE
RESEARCH TRIANGLE PARK, NC 27709

CREST INTL NOMINEES LIMITED                                            COMMON                       6,445   COMMON
ATTN NATHAN ASHWORTH OR PROXY MGR                                      SHARES
33 CANNON STREET
LONDON EC4M 5SB
UNITED KINGDOM

D. A. DAVIDSON & CO.                                                   COMMON                       4,975   COMMON
ATTN RITA LINSKEY OR PROXY MGR                                         SHARES
8 THIRD STREET NORTH
GREAT FALLS, MT 59401

DAVID MAKI                                                             COMMON                       7,675   COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

DENNIS TO                                                              COMMON                       8,517   COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

DESERET TRUST COMPANY – I                                              COMMON                        313    COMMON
ATTN PROXY MGR                                                         SHARES
60 EAST SOUTH TEMPLE
SUITE 400
SALT LAKE CITY, UT 84111-1036




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In re: Sienna Biopharmaceuticals, Inc                                                    Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class      Number of          Kind of
business of holder                                                                         Securities         Interest

DESJARDINS SECURITIES INC.                                             COMMON                       8,964   COMMON
ATTN KARLA DIAZ FOR MATERIALS                                          SHARES
VALEURS MOBILIARES DESJARDINS
2, COMPLEXE DESJARDINS TOUR EST
MONTREAL, QC H5B 1B4
CANADA

DEUTSCHE BANK SECURITIES, INC.                                         COMMON                         41    COMMON
ATTN SARA BATTEN OR PROXY MGR                                          SHARES
5022 GATE PARKWAY
SUITE 200
JACKSONVILLE, FL 32256

DIANE M STROEHMANN                                                     COMMON                  117,724      COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

DONNA JANSON                                                           COMMON                   28,571      COMMON
2647 MERCED PL                                                         SHARES
JAMUL CA 91935-4000

DONNA VOLPITTA 2014 IRREVOCABLE TRUST                                  COMMON                  118,910      COMMON
18 THRESHING ROCK RD                                                   SHARES
POUND RIDGE NY 10576-2206

E- TRANSACTION CLEARING                                                COMMON                        430    COMMON
ATTN JANE BUHAIN OR PROXY MGR                                          SHARES
660 S. FIGUEROA STREET
SUITE 1450
LOS ANGELES, CA 90017

ED CASTELLANA                                                          COMMON                   57,349      COMMON
6894 FISK AVE                                                          SHARES
SAN DIEGO CA 92122-2437

EDWARD JONES                                                           COMMON                   10,606      COMMON
ATTN DEREK ADAMS OR PROXY DEPT.                                        SHARES
CORPORATE ACTIONS & DISTRIBUTION
12555 MANCHESTER ROAD
ST. LOUIS, MO 63131

ELING WONG                                                             COMMON                       3,533   COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362



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In re: Sienna Biopharmaceuticals, Inc                                                    Case No.
                                                           Debtor(s)


                               LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class      Number of          Kind of
business of holder                                                                         Securities         Interest

ELIOT FORSTER                                                          COMMON                        115    COMMON
RED HOUSE WEST                                                         SHARES
SOTWELL ST
WALLINGFORD
OXFORDSHIRE OX10 0RG
UNITED KINGDOM

ELIZABETH STANLEY                                                      COMMON                       5,962   COMMON
830 HILLVIEW CIR                                                       SHARES
SIMI VALLEY CA 93065-4304

ETRADE/APEX                                                            COMMON                  335,801      COMMON
C/O BROADRIDGE SECURITIES PROCESSING                                   SHARES
ATTN: YASMINE CASSEUS
2 GATEWAY CENTER
NEWARK, NJ 07102

FOLIO (FN) INVESTMENTS, INC.                                           COMMON                          1    COMMON
ATTN ASHLEY THEOBALD OR PROXY MGR                                      SHARES
8180 GREENSBORO DRIVE
8TH FLOOR
MCLEAN, VA 22102

FREDERICK C BEDDINGFIELD III                                           COMMON                  553,652      COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

GOLDMAN SACHS                                                          COMMON                2,253,006      COMMON
ATTN MEGHAN SULLIVAN OR PROXY DEPT                                     SHARES
30 HUDSON STREET
JERSEY CITY, NJ 07302

GREGORY STOKES                                                         COMMON                   34,071      COMMON
98 SUMMIT DR                                                           SHARES
FREEHOLD NJ 07728-9035

GREYSTOKE ASSOCIATES LLC                                               COMMON                  120,501      COMMON
P.O. BOX 957                                                           SHARES
WILMINGTON DE 19899-0957

GUY WEBSTER                                                            COMMON                       6,814   COMMON
529 LONDON TRACT RD                                                    SHARES
LANDENBERG PA 19350-9144




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In re: Sienna Biopharmaceuticals, Inc                                                    Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class      Number of          Kind of
business of holder                                                                         Securities         Interest

HARRIS FAMILY IRREVOCABLE TRUST 1                                      COMMON                   17,557      COMMON
DATED 7/24/2017                                                        SHARES
30699 RUSSELL RANCH ROAD
SUITE 140
WEST LAKE VILLAGE, CA 91362

HARRIS FAMILY IRREVOCABLE TRUST 2                                      COMMON                   17,557      COMMON
DATED 7/24/2017                                                        SHARES
30699 RUSSELL RANCH ROAD
SUITE 140
WEST LAKE VILLAGE, CA 91362

HARRIS FAMILY IRREVOCABLE TRUST 3                                      COMMON                   17,557      COMMON
DATED 7/24/2017                                                        SHARES
30699 RUSSELL RANCH ROAD
SUITE 140
WEST LAKE VILLAGE, CA 91362

HARRIS FAMILY IRREVOCABLE TRUST 4                                      COMMON                   17,557      COMMON
DATED 7/24/2017                                                        SHARES
30699 RUSSELL RANCH ROAD
SUITE 140
WEST LAKE VILLAGE, CA 91362

HAYWOOD BIOTECHNOLOGY LLC                                              COMMON                   17,035      COMMON
1500 N DIXIE HWY STE 305                                               SHARES
WEST PALM BEACH FL 33401-2717

HSBC BANK USA, NA/CLEARING                                             COMMON                       2,250   COMMON
ATTN BARBARA SKELLY OR PROXY MGR                                       SHARES
545 WASHINGTON BLVD
10TH FLOOR
JERSEY CITY, NJ 07310

INTERACTIVE BROKERS                                                    COMMON                  184,015      COMMON
ATTN KARIN MCCARTHY OR PROXY DEPT.                                     SHARES
8 GREENWICH OFFICE PARK
GREENWICH, CT 06831

J.P. MORGAN/CLEARING                                                   COMMON                2,259,186      COMMON
ATTN CORPORATE ACTIONS TEAM                                            SHARES
500 STANTON CHRISTIANA RD. NCC5 FL3
NEWARK, DE 19713

J-4000 INVESTMENTS LLC                                                 COMMON                       2,111   COMMON
1525 N TECHNOLOGY WAY                                                  SHARES
OREM UT 84097-2395


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In re: Sienna Biopharmaceuticals, Inc                                                    Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class      Number of          Kind of
business of holder                                                                         Securities         Interest

JANNEY MONTGOMERY SCOTT INC.                                           COMMON                        750    COMMON
ATTN CORPORATE ACTIONS                                                 SHARES
1717 ARCH ST
17TH FL
PHILADELPHIA, PA 19103-1675

JARED YOUNGER                                                          COMMON                       1,407   COMMON
4572 FIR AVE                                                           SHARES
SEAL BEACH CA 90740-3007

JASON HARRIS                                                           COMMON                       3,407   COMMON
10752 TREGO TRL                                                        SHARES
RALEIGH NC 27614-9660

JERE FELLMAN                                                           COMMON                   28,226      COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

JI-HO PARK                                                             COMMON                       2,962   COMMON
10208 CARNERO PL                                                       SHARES
LAKESIDE CA 92040-2240

JPMORGAN CHASE                                                         COMMON                  304,350      COMMON
ATTN JEFF LAZARUS OR REORG MGR NY1-C094                                SHARES
4 METROTECH CENTER - 3RD FLOOR
BROOKLYN, NY 11245

KEITH KLEIN                                                            COMMON                       2,981   COMMON
637 7TH ST                                                             SHARES
HERMOSA BEACH CA 90254-4706

KELL S CANNON &                                                        COMMON                       4,086   COMMON
STEPHANIE S MUEHLHAUSEN                                                SHARES
P.O. BOX 173859
DENVER CO 80217-3859

KENT COUNTY COUNCIL                                                    COMMON                   24,025      COMMON
COUNTY HALL                                                            SHARES
MAIDSTONE
KENT ME14 1XQ
UNITED KINGDOM

KEVIN FERRETTI                                                         COMMON                       1,407   COMMON
128 N LAKESIDE DR NW                                                   SHARES
KENNESAW GA 30144-3092



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In re: Sienna Biopharmaceuticals, Inc                                                    Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                   (Continuation Sheet)




Name and last known address or place of                                Security Class      Number of          Kind of
business of holder                                                                         Securities         Interest

KIRSTEIN-WHOLEY FAMILY TRUST                                           COMMON                       2,111   COMMON
15505 LEMAY ST                                                         SHARES
VAN NUYS CA 91406-6200

LAKE T MCGUIRE                                                         COMMON                       1,941   COMMON
2033 MACKINNON AVE                                                     SHARES
CARDIFF BY THE SEA CA 92007-1713

LASK FAMILY TRUST                                                      COMMON                   44,497      COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE 91362

LAURENTIAL BANK OF CANADA/CDS                                          COMMON                       3,000   COMMON
ESTELLE COLLE OR PROXY MGR                                             SHARES
1981 MCGILL COLLEGE AVE
SUITE 100
MONTREAL, QC H3A 3K3
CANADA
LENA WU                                                                COMMON                       4,430   COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE 91362

LPL FINANCIAL CORPORATION                                              COMMON                  196,177      COMMON
ATTN CORPORATE ACTIONS                                                 SHARES
1055 LPL WAY
FORT MILL, SC 29715

LUNDEEN SMUCK REVOCABLE TRUST                                          COMMON                       4,514   COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

MADISON TRUST COMPANY CUSTODIAN                                        COMMON                       9,149   COMMON
FBO TAMARA FERRETTI M1602090                                           SHARES
401 E 8TH ST STE 200P
SIOUX FALLS SD 57103-7015

MAJED KHEIR                                                            COMMON                   54,307      COMMON
30699 RUSSELL RANCH ROAD                                               SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

MARCY MOORE                                                            COMMON                   17,035      COMMON
131 KELEKENT LN                                                        SHARES
CARY NC 27518-8681

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In re: Sienna Biopharmaceuticals, Inc                                                 Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class      Number of          Kind of
business of holder                                                                      Securities         Interest

MARK SCHNEIDER                                                      COMMON                   22,997      COMMON
30699 RUSSELL RANCH ROAD                                            SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

MARK V ROEDER                                                       COMMON                        703    COMMON
1618 STANFORD AVE                                                   SHARES
MENLO PARK CA 94025-5757

MATHEW M AVRAM                                                      COMMON                       2,042   COMMON
193 MARLBOROUGH ST                                                  SHARES
BOSTON MA 02116-1803

MCGUIRE SPECIALTY INVESTMENTS LLC                                   COMMON                       2,631   COMMON
2033 MACKINNON AVE                                                  SHARES
CARDIFF BY THE SEA CA 92007-1713

MILLENNIUM TRUST COMPANY LLC CUST                                   COMMON                  136,286      COMMON
FBO ROBERT J MORE ROTH IRA XXXX52344                                SHARES
5014 EL ACCBO DEL NORTE
P.O. BOX 196
RANCHO SANTA FE CA 92067-0196

MITCHEL P GOLDMAN                                                   COMMON                   10,112      COMMON
424 SHEFFIELD AVE                                                   SHARES
CARDIFF BY THE SEA CA 92007-1640

MORGAN STANLEY & CO.                                                COMMON                1,397,980      COMMON
ATTN MS PROXY DEPARTMENT                                            SHARES
1300 THAMES STREET WHARF
BALTIMORE, MD 21231

NATIONAL FINANCIAL SVCS.                                            COMMON                3,425,984      COMMON
ATTN SEAN COLE OR PROXY DEPT.                                       SHARES
NEWPORT OFFICE CENTER III
499 WASHINGTON BOULEVARD
JERSEY CITY, NJ 07310

NBCN INC. /CDS                                                      COMMON                   13,300      COMMON
ATTN DANIEL NTAP OR PROXY MGR                                       SHARES
1010 RUE DE LA GAUCHETIERE ST. WEST
SUITE 1925
MONTREAL, QC H3B 5J2
CANADA




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In re: Sienna Biopharmaceuticals, Inc                                                 Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class      Number of          Kind of
business of holder                                                                      Securities         Interest

NEOMED IV EXTENSION LP                                              COMMON                          1    COMMON
13 CASTLE ST                                                        SHARES
ST HELIER JE4 5UT
JERSEY

NORTHERN TRUST COMPANY, THE                                         COMMON                  195,559      COMMON
ATTN ANDREW LUSSEN OR PROXY MGR                                     SHARES
801 S. CANAL STREET
ATTN: CAPITAL STRUCTURES-C1N
CHICAGO, IL 60607

OPPENHEIMER & CO. INC.                                              COMMON                       3,519   COMMON
ATTN COLIN SANDY OR PROXY MGR                                       SHARES
85 BROAD STREET, 4TH FLOOR
NEW YORK, NY 10004

PAUL F LIZZUL AND                                                   COMMON                   10,557      COMMON
LIZZUL LIVING TRUST                                                 SHARES
30699 RUSSELL RANCH ROAD
SUITE 140
WEST LAKE VILLAGE, CA 91362

PAUL LIZZUL                                                         COMMON                   84,634      COMMON
30699 RUSSELL RANCH ROAD                                            SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

PENSCO TRUST COMPANY CUSTODIAN                                      COMMON                   21,115      COMMON
FBO KELL CANNON IRA                                                 SHARES
P.O. BOX 173859
DENVER CO 80217-3859

PENSCO TRUST COMPANY                                                COMMON                       9,057   COMMON
ATTN BRETT DAVIS OR PROXY MGR                                       SHARES
717 17TH STREET
SUITE 21
DENVER, CO 80202

PERSHING                                                            COMMON                  142,764      COMMON
ATTN JOSEPH LAVARA OR PROXY DEPT.                                   SHARES
1 PERSHING PLAZA
JERSEY CITY, NJ 07399

PHARUS INVESTMENT PARTNERS LLC                                      COMMON                       7,038   COMMON
SERIES 5                                                            SHARES
551 5TH AVE
NEW YORK NY 10176-0001


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In re: Sienna Biopharmaceuticals, Inc                                                 Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class      Number of          Kind of
business of holder                                                                      Securities         Interest

QUESTRADE INC./CDS                                                  COMMON                       5,788   COMMON
ATTN AL NANJI OR PROXY MGR                                          SHARES
5650 YONGE STREET
TORONTO, ON M2M 4G3
CANADA

RALEIGH RADIOLOGY ASSOCIATES INC                                    COMMON                   15,332      COMMON
PROFIT SHARING PLAN FBO JASON HARRIS                                SHARES
10752 TREGO TRL
RALEIGH NC 27614-9660

RAYMOND JAMES & ASSOCIATES, INC.                                    COMMON                   38,333      COMMON
ATTN ROBERTA GREEN OR PROXY MGR                                     SHARES
880 CARILION PARKWAY
TOWER 2, 4TH FLOOR
ST. PETERSBURG, FL 33716

RBC CAPITAL MARKETS CORPORATION                                     COMMON                  227,131      COMMON
ATTN STEVE SCHAFER OR PROXY MGR                                     SHARES
60 S 6TH ST - P09
MINNEAPOLIS, MN 55402-1106

RBC DOMINION /CDS                                                   COMMON                  381,927      COMMON
ATTN PROXY MGR                                                      SHARES
2 BLOOR STREET E # 2300
TORONTO, ON M4W 1A8
CANADA

REID MCGUIRE                                                        COMMON                       1,941   COMMON
3715 PARULA DR                                                      SHARES
EAST LANSING MI 48823-8352

RICHARD & HERLINDA KOBASHI CO-TRUSTEES                              COMMON                       2,111   COMMON
THE KOBASHI REVOCABLE LIVING TRUST                                  SHARES
DTD 10/21/88 AS AMENDED 12/10/98
425 LA SIERRA WAY
GILROY CA 95020-4321

ROBERT B AND TINA M PIERCE                                          COMMON                       1,407   COMMON
507 INWOOD LN                                                       SHARES
INDIAN HARBOUR BEACH FL 32937-4308

ROBERT MORE                                                         COMMON                   19,656      COMMON
30699 RUSSELL RANCH ROAD                                            SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362



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In re: Sienna Biopharmaceuticals, Inc                                                 Case No.
                                                        Debtor(s)


                               LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class      Number of          Kind of
business of holder                                                                      Securities         Interest

ROBERT W. BAIRD & CO. INC.                                          COMMON                       2,010   COMMON
ATTN JAN SUDFELD OR PROXY MGR                                       SHARES
777 E. WISCONSIN AVENUE
19TH FLOOR
MILWAUKEE, WI 53202

ROBINHOOD SECURITIES, LLC                                           COMMON                   84,717      COMMON
C/O MEDIANT COMMUNICATIONS                                          SHARES
STEPHANY HERNANDEZ
100 DEMAREST DRIVE
WAYNE, NJ 07470

RYAN AND SHIMA BAUGHMAN                                             COMMON                       4,222   COMMON
1871 E HUBBARD AVE                                                  SHARES
SALT LAKE CITY UT 84108-1341

SABRINA STEPHAN                                                     COMMON                       8,517   COMMON
30699 RUSSELL RANCH ROAD                                            SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

SANDRA MORE                                                         COMMON                   22,878      COMMON
2285 WHITE PINE LN                                                  SHARES
PARK CITY UT 84060-5525

SCOTT ROMESSER                                                      COMMON                   25,553      COMMON
1457 CAMINO MELENO                                                  SHARES
SANTA BARBARA CA 93111-1010

SCOTT SUMMERSGILL                                                   COMMON                   12,776      COMMON
30699 RUSSELL RANCH ROAD                                            SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

SEI PRIVATE TRUST COMPANY                                           COMMON                   15,000      COMMON
ATTN ERIC GREENE OR PROXY MGR                                       SHARES
ONE FREEDOM VALLEY DRIVE
OAKS, PA 19456

SELF DIRECTED IRA SERVICES INC                                      COMMON                       7,571   COMMON
CUSTODIAN FBO LAKE MCGUIRE IRA                                      SHARES
2033 MACKINNON AVE
CARDIFF BY THE SEA CA 92007-1713

SELF DIRECTED IRA SERVICES INC                                      COMMON                       7,571   COMMON
CUSTODIAN FBO REID MCGUIRE IRA                                      SHARES
3715 PARULA DR
EAST LANSING MI 48823-8352

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In re: Sienna Biopharmaceuticals, Inc                                                 Case No.
                                                        Debtor(s)


                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class      Number of          Kind of
business of holder                                                                      Securities         Interest

SETH J ORLOW PHD                                                    COMMON                   28,153      COMMON
9 E 96TH ST # 11A                                                   SHARES
NEW YORK NY 10128-0778

SG AMERICAS SECURITIES, LLC                                         COMMON                        702    COMMON
ATTN PAUL MITSAKOS OR PROXY MGR                                     SHARES
1221 AVENUE OF THE AMERICAS
NEW YORK, NY 10020

SIMON RUSSELL                                                       COMMON                   16,049      COMMON
BAERENFELSWEG 11                                                    SHARES
4202 DUGGINGEN
SWITZERLAND

STATE STREET                                                        COMMON                  564,821      COMMON
ATTN PROXY DEPARTMENT                                               SHARES
1776 HERITAGE DRIVE
NORTH QUINCY, MA 02171

STEVE OLDENBURG                                                     COMMON                   15,977      COMMON
1835 BEL AIR TER                                                    SHARES
ENCINITAS CA 92024-5502

STIFEL NICOLAUS & CO.                                               COMMON                        113    COMMON
ATTN CHRIS WIEGAND OR PROXY DEPT.                                   SHARES
C/O MEDIANT COMMUNCATIONS
501 N. BROADWAY
ST. LOUIS, MO 63102
STOCKCROSS FINANCIAL                                                COMMON                       1,000   COMMON
ATTN DIANE TOBEY OR PROXY MGR                                       SHARES
77 SUMMER STREET
BOSTON, MA 02210

STUART ROSS                                                         COMMON                       7,038   COMMON
5445 POTOMAC AVE NW                                                 SHARES
WASHINGTON DC 20016-2553

TD AMERITRADE CLEARING, INC.                                        COMMON                  684,337      COMMON
ATTN MANDI FOSTER OR PROXY MGR                                      SHARES
1005 AMERITRADE PLACE
BELLEVUE, NE 68005




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                              LIST OF EQUITY SECURITY HOLDERS
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Name and last known address or place of                             Security Class      Number of          Kind of
business of holder                                                                      Securities         Interest

TD WATERHOUSE CANADA INC. /CDS                                      COMMON                   47,802      COMMON
ATTN YOUSUF AHMED OR PROXY MGR                                      SHARES
77 BLOOR STREET WEST
3RD FLOOR
TORONTO, ON M4Y 2T1
CANADA

THE BALDRIDGE FAMILY TRUST                                          COMMON                       8,172   COMMON
ATTN E BRADFORD BALDRIDGE                                           SHARES
3604 N POINSETTIA AVE
MANHATTAN BEACH CA 90266-3544

TIMOTHY ANDREWS                                                     COMMON                   51,737      COMMON
30699 RUSSELL RANCH ROAD                                            SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

TODD HARRIS                                                         COMMON                  570,991      COMMON
30699 RUSSELL RANCH ROAD                                            SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362

TRADESTATION SECURITIES                                             COMMON                   19,750      COMMON
ATTN CORPORATE ACTIONS                                              SHARES
8050 SW 10TH STREET, STE 2000
PLANTATION, FL 33324

U.S. BANCORP INVESTMENTS, INC.                                      COMMON                       1,000   COMMON
ATTN KEVIN BROWN OR PROXY MGR                                       SHARES
60 LIVINGSTON AVE
ST. PAUL, MN 55107-1419

UBS FINANCIAL SERVICES LLC                                          COMMON                1,027,056      COMMON
ATTN PROXY DEPARTMENT - JANE FLOOD                                  SHARES
1000 HARBOR BLVD
WEEHAWKEN, NJ 07086

UBS SECURITIES LLC                                                  COMMON                        249    COMMON
ATTN MICHAEL HALLET OR PROXY MGR                                    SHARES
PROXY DEPARTMENT
315 DEADRICK STREET
NASHVILLE, TN 37238

VANGUARD MARKETING CORPORATION                                      COMMON                  307,093      COMMON
ATTN BEN BEGUIN OR PROXY MGR                                        SHARES
14321 N. NORTHSIGHT BOULEVARD
SCOTTSDALE, AZ 85260


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In re: Sienna Biopharmaceuticals, Inc                                                 Case No.
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                              LIST OF EQUITY SECURITY HOLDERS
                                                (Continuation Sheet)




Name and last known address or place of                             Security Class      Number of          Kind of
business of holder                                                                      Securities         Interest

VIRTU FINANCIAL BD LLC                                              COMMON                       1,364   COMMON
ATTN JANICA BRINK OR PROXY MGR                                      SHARES
300 VESEY STREET
NEW YORK, NY 10282

WEDBUSH MORGAN SECURITIES, INC.                                     COMMON                        410    COMMON
ATTN ALAN FERREIRA OR PROXY MGR                                     SHARES
1000 WILSHIRE BLVD., SUITE #850
LOS ANGELES, CA 90030

WELLS FARGO BANK, N.A./SIG                                          COMMON                   31,438      COMMON
ATTN SCOTT NELLIS OR PROXY MGR                                      SHARES
1525 W T HARRIS BLVD
1ST FLOOR
CHARLOTTE, NC 28262-8522

WELLS FARGO CLEARING SERVICES LLC                                   COMMON                  144,458      COMMON
ATTN PROXY DEPARTMENT                                               SHARES
H0006-08N
2801 MARKET STREET
ST. LOUIS, MO 63103

WILLIAM LEITNER                                                     COMMON                       5,220   COMMON
30699 RUSSELL RANCH ROAD                                            SHARES
SUITE 140
WEST LAKE VILLAGE, CA 91362




Sheet 16 of 16 in List of Equity Security Holders
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 Fill in this information to identify the case and this filing:


 Debtor Name Sienna Biopharmaceuticals, Inc.

 United States Bankruptcy Court for the District of Delaware

 Case   number   (if known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                  12115
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or
partnership, must sign and submit this form for the schedules of assets and liabilities, any other document
that requires a declaration that is not included in the document, and any amendments of those documents.
This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING    Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
            --



money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.
                                                         §

             Declaration and signature


        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized
        agent of the partnership, or another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the
        information is true and correct:

                 Schedule NB: Assets-Real and Personal Property (Official Form 206NB)

                 Schedule 0. Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 2O6Sum)

                 Amended Schedule

        D        Chapter 17 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
                 Are Not Insiders (Official Form 204)

                 Other document that requires a declaration    —   Statement of Corporate Ownership and List of Equity
                 Security Holders

        I declare under penalty of perjury that the foregoing is true and correct.                 -




        Executed on        09/16/2019                              X
                           MM/DD/YYYY                                      Signature of individ0i on behalf of debtor

                                                                           Frederick C. Beddingfield Ill
                                                                           Printed name

                                                                           Chief Executive Officer
                                                                           Position or relationship to debtor
